                     UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

In re:

                                                            Chapter 11
ARK LABORATORY, LLC,                                        Case No. 23-43403
                                                            Hon. Maria L. Oxholm
               Debtor.
                                               /


                    ORDER REJECTING CONTRACT WITH
                     MCLAREN MEDICAL LABORATORY

         THIS MATTER is before the Court on the Stipulation of the parties [Doc. No.

251]. The Court has reviewed the Stipulation, finds good cause for entry of this

Order and is otherwise advised in the premises.

         NOW THEREFORE,

         IT IS HEREBY ORDERED that the Laboratory Services Agreement dated

August 23, 2021 between McLaren Medical Laboratory (“McLaren”) and the Debtor

(the “Contract”) is rejected effective as of 11:59 p.m. July 26, 2023 (the “Rejection

Date”).

         IT IS FURTHER ORDERED that the Administrative Expense Claim of

McLaren shall include amounts owed by the Debtor to McLaren for tests submitted

by the Debtor after the Petition Date and through the Rejection Date even though

such tests may not have been completed until after the Rejection Date.



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         IT IS FURTHER ORDERED that McLaren shall file a request for allowance

of its Administrative Expense Claim within such time as the Court sets for all

administrative expense creditors to request allowance of their claims in this matter.

         IT IS FURTHER ORDERED that McLaren’s allowed Administrative

Expense Claim shall be paid pursuant to the Debtor’s Combined Disclosure

Statement and Plan of Liquidation [Doc. No. 249], as same may be amended, or

other Order of this Court.

         IT IS FURTHER ORDERED that the Motion of Debtor to Reject Certain

Executory Contracts and Unexpired Leases, and for Related Relief on July 10, 2023

[Doc. No. 154] (the “Motion”), solely as it pertains to McLaren, is withdrawn.



Signed on September 21, 2023




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